                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COMMON CAUSE, et al.,

                                 PLAINTIFFS,

                     v.
                                                      CIVIL ACTION
                                               NO. 1:16-CV-1026-WO-JEP
ROBERT A. RUCHO, in his official capacity as
Chairman of the North Carolina Senate
                                                 THREE-JUDGE COURT
Redistricting Committee for the 2016 Extra
Session and Co-Chairman of the Joint Select
Committee on Congressional Redistricting,
et al.,
                               DEFENDANTS.


LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, et al.,

                               PLAINTIFFS,

                      v.
                                                      CIVIL ACTION
ROBERT A. RUCHO, in his official capacity as   NO. 1:16-CV-1164-WO-JEP
Chairman of the North Carolina Senate
Redistricting Committee for the 2016 Extra       THREE-JUDGE COURT
Session and Co-Chairman of the 2016 Joint
Select Committee on Congressional
Redistricting, et al.,

                                DEFENDANTS.



  COMMON CAUSE PLAINTIFFS’ BRIEF IN RESPONSE TO LEGISLATIVE
   DEFENDANTS’ EMERGENCY MOTION TO STAY PENDING SUPREME
       COURT REVIEW AND REQUEST FOR EXPEDITED RULING




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       By Emergency Motion, Legislative Defendants seek a stay of the Court’s August

27, 2018 Order, ECF No. 142 (the “Order”)—which invalidated North Carolina’s 2016

congressional plan (the “2016 Plan”)—pending Supreme Court review.1 Leg. Defs.’

Emerg. Mot. to Stay, ECF No. 146 (“Stay Motion”). They seek a ruling by today,

Tuesday, September 4, 2018. Plaintiffs in Common Cause v. Rucho, No. 1:16-cv-2016

(“Plaintiffs”), submit the following brief in response.

                                      ARGUMENT

       Legislative Defendants’ Stay Motion rehashes their familiar arguments against this

Court’s thoughtful and unanimous conclusion that the 2016 Plan violates the

Constitution—arguments that this Court has carefully considered and rejected on multiple

occasions based on well-settled precedents.       Legislative Defendants also insist that

Supreme Court review is necessary before any remedy imposed by this Court can take

effect. If Plaintiffs believed it were possible to impose a remedy in time for the 2018

election, we would vigorously oppose a stay, because this Court’s opinion is so plainly

correct.   However, as Plaintiffs advised the Court on Friday, we have regretfully

concluded that a pre-election remedy would risk unacceptable voter confusion and,

indeed, may not be mechanically possible.

       If the Court agrees and decides not to implement a remedial map before the 2018

election, then the stay calculus changes.      Legislative Defendants’ professed concern

about “electoral chaos” would become moot. See Leg. Defs.’ Mem. in Supp. of Mot. to

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  Citations to ECF document numbers throughout this brief refer to the document
numbers as they appear in Common Cause et al. v. Rucho et al., No. 1:16-CV-1026.




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Stay at 4, ECF No. 147 (“Stay Mem.”). So, too, does their assertion that this motion

requires emergency action by this Court. Nonetheless, even under these circumstances,

Plaintiffs believe that the most prudent course would be to permit the Supreme Court the

opportunity to speedily review and affirm this Court’s judgment before a remedy is

implemented—well in advance of the 2020 election.

       The Legislative Defendants purport to desire Supreme Court review as well. They

filed a notice of appeal to the Supreme Court on Friday, August 31, 2018, even before

this Court had determined what remedy to impose and when.                In their brief, the

Legislative Defendants assert that “[g]iven the near certainty of Supreme Court review,

the prudent course is to defer any remedy until after the Court considers the issue.” Stay

Mem. at 3. They further argue that “this case should be stayed so that a full Supreme

Court can evaluate the merits of plaintiffs’ claims and the soundness of the Court’s order

declaring the 2016 Plan illegal.” Id. at 12. Plaintiffs agree that a timely affirmance from

the Supreme Court would eliminate any uncertainty in the remedial process and

ultimately speed the final resolution of this case.

       Therefore, if the Court agrees to defer any remedy until after the 2018 election,

Plaintiffs do not oppose a stay that is structured to guarantee that the Supreme Court has a

prompt opportunity to review and affirm this Court’s decision in the coming Term, which

begins in October 2018 and concludes in June 2019.            The opportunity for prompt

Supreme Court review would be optimized by speedy filing of briefs with no requests for

extensions of time. As a start, that would be helped if the Legislative Defendants file their



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jurisdictional statement within the next 30 days (by October 1, 2018), rather than the 60

days permitted under the Supreme Court rules. This would impose no undue burden on

the Legislative Defendants, whose experienced Supreme Court counsel has already filed

three briefs in the Supreme Court on this case. At the same time, this would give the

Supreme Court a clear opportunity to consider the jurisdictional statement and Plaintiffs’

response by December—which is traditionally when the Court fills its argument calendar

for the remainder of the Term.

       The advantage of prompt filing is that, if the Court then decided to receive plenary

briefing and hear argument on this case, it could do so in Spring 2019, in time for a June

2019 decision. This schedule would leave ample time for this Court to implement a post-

affirmance remedy well in advance of the 2020 election cycle. By contrast, if Legislative

Defendants were able to delay this appeal until the 2019 Term of the Supreme Court,

with a decision potentially as late as June 2020, this Court would again face difficult

questions about whether a remedy would interfere with election machinery already

underway.

       Plaintiffs have been litigating to spare North Carolina voters the injury and

indignity of being forced to vote in one illegal election after another, a concern that this

Court shares. It would be an abomination if the Legislative Defendants were somehow

able to delay Supreme Court review into the 2019 Term of the Court, and then argue—

yet again—that it is too late to afford a remedy to North Carolina’s voters. There is no

doubt that delay is their game.      Otherwise, when Gill was decided this past June,



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Legislative Defendants would have joined Plaintiffs in asking the Supreme Court to

promptly decide this case on the merits—rather than falsely insisting that remand was

necessary because district-specific standing had never been litigated in this case and that

this Court’s judgment was “based … entirely on statewide theories of harm.” Legislative

Defs.’ Suppl. Br. at 1, Rucho v. Common Cause, No. 17-1295 (U.S. June 20, 2018). This

stratagem has now made a 2018 remedy all but impossible.

       To prevent further delay and to ensure that Legislative Defendants’ appeal is

resolved in time to make a difference for the next election cycle, Plaintiffs propose the

following course of action with respect to the Stay Motion (assuming that the Court

agrees to defer any remedy until after the present election cycle). Specifically, this Court

should exercise its discretion to stay its August 27, 2018 Order pending review by the

Supreme Court on two conditions: (1) that the stay will expire of its own force 30 days

after the filing of the Legislative Defendants’ Notice of Appeal (i.e., on October 1, 2018)

unless the Legislative Defendants have, by that time, filed their Jurisdictional Statement

in the Supreme Court; and (2) that the Legislative Defendants thereafter diligently

prosecute their appeal to the Supreme Court with no requests for extensions of time. So

long as these conditions are met, this Court’s stay would remain in effect pending the

resolution of Legislative Defendants’ appeal. If they were violated, the stay would expire

on its own terms.

       Respectfully submitted, this 4th day of September, 2018.




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                             /s/ Edwin M. Speas, Jr.
                             Edwin M. Speas, Jr.
                             North Carolina Bar No. 4112
                             Steven B. Epstein
                             North Carolina Bar No. 17396
                             Caroline P. Mackie
                             North Carolina Bar No. 41512
                             POYNER SPRUILL LLP
                             301 Fayetteville Street, Suite 1900
                             Raleigh, North Carolina 27601
                             Telephone: (919) 783-6400
                             espeas@poynerspruill.com
                             sepstein@poynerspruill.com
                             cmackie@poynerspruill.com
                             /s/ Emmet J. Bondurant
                             Emmet J. Bondurant
                             Georgia Bar No. 066900
                             Jason J. Carter
                             Georgia Bar No. 141669
                             Benjamin W. Thorpe
                             Georgia Bar No. 874911
                             BONDURANT, MIXSON & ELMORE, LLP
                             1201 W. Peachtree Street, NW, Suite 3900
                             Atlanta, Georgia 30309
                             Telephone: (404) 881-4100
                             bondurant@bmelaw.com
                             carter@bmelaw.com
                             bthorpe@bmelaw.com
                             /s/ Gregory L. Diskant
                             Gregory L. Diskant
                             New York Bar No. 1047240
                             Peter A. Nelson
                             New York Bar No. 4575684
                             PATTERSON BELKNAP WEBB & TYLER LLP
                             1133 Avenue of the Americas
                             New York, New York 10036
                             Telephone: (212) 336-2000
                             gldiskant@pbwt.com
                             pnelson@pbwt.com
                             Counsel for the Common Cause Plaintiffs


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           CERTIFICATE OF COMPLIANCE WITH WORD COUNT

      The undersigned hereby certifies that the foregoing brief, exclusive of the case

caption and certificate of service, contains less than six thousand two hundred fifty

(6,250) words.

      This the 4th day of September, 2018.

                                       /s/ Edwin M. Speas, Jr.
                                       Edwin M. Speas, Jr.




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                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to

all counsel and parties of record.

       This the 4th day of September, 2018.

                                        /s/ Edwin M. Speas, Jr.
                                        Edwin M. Speas, Jr.




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